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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
DU’BOIS A. CROCKROM,

                                   Plaintiff,
                 -against-                                                   20 CIVIL 13 (JPO)

                                                                              JUDGMENT
BANK OF AMERICA, N.A., BANK OF
AMERICA CORPORATION,

                                    Defendants.
-----------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated November 17, 2020, Defendants’ motion to dismiss

pursuant to Rule 12(b)(2) is granted in part and denied in part; Defendants’ motion to dismiss

pursuant to Rule 12(b)(6) is granted; accordingly, this case is closed.

Dated: New York, New York
       November 17, 2020



                                                                         RUBY J. KRAJICK
                                                                      _________________________
                                                                            Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
